Case 1:21-cv-01751-RDM Document 22 Filed 11/12/21 Page 1 of 4

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

QUYNH VU BAIN,
Plaintiff,
Vv.

OFFICE OF THE ATTORNEY GENERAL
U.S. Department of Justice,

OFFICE OF THE DEPUTY ATTORNEY GENERAL
U.S. Department of Justice,

No. 21-Civ-1751 (RDM)
OFFICE OF PROFESSIONAL RESPONSIBILITY
U.S. Department of Justice,

EXECUTIVE OFFICE FOR IMMIGRATION
REVIEW, U.S. Department of Justice,

OFFICE OF INFORMATION POLICY
U.S. Department of Justice,

Defendants.

ee

 

PLAINTIFF’S MOTION FOR EXTENSION OF TIME
TO RESPOND TO DEFENDANTS’ MOTION TO DISMISS

On October 12, 2021, Defendants filed a Motion to Dismiss for lack of jurisdiction and
failure to state a claim under Fed. R. Civ. P. 12(b)(1) & (6). By Order dated October 18, 2021, the
Court directed that Plaintiff respond to the Motion to Dismiss by November 12, 2021.

A four-day extension would bring the due date to November 16, 2021. This request for a
brief extension of time is based on good cause and is not for the purpose of delay. Plaintiff has
been diligently working on her response but is unable to complete it by the stated due date.

Defendants will not be prejudiced by a four-day extension of time. On November 12, 2021,

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Clerk, U.S. District & Bankruptcy
Courts for the District of Columbia
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Plaintiff contacted Assistant United States Attorney Joseph Carilli by telephone at 9:42 a.m. and
left a voice mail message regarding this Motion. As of the filing of this Motion approximately
two hours later, Mr. Carilli had not responded.
Accordingly, Plaintiff respectfully requests that the Court grant this Motion and permit
Plaintiff to file her response to the Defendants’ Motion to Dismiss on November 16, 2021.
Date: November 12, 2021 Respectfully submitted,
C Z J 2
v 1}
Quynh Vu Bain
Pro Se Plaintiff
213 Third Street, SE

Washington, DC 20003
(202) 569-0942
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

QUYNH VU BAIN,
Plaintiff,
Vv.

OFFICE OF THE ATTORNEY GENERAL
U.S. Department of Justice,

OFFICE OF THE DEPUTY ATTORNEY GENERAL
U.S. Department of Justice,
Case No. 21-Civ-1751(RDM)

OFFICE OF PROFESSIONAL RESPONSIBILITY
U.S. Department of Justice,

EXECUTIVE OFFICE FOR IMMIGRATION
REVIEW, U.S. Department of Justice,

OFFICE OF INFORMATION POLICY
U.S. Department of Justice,

Defendants.

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[Proposed] ORDER

Plaintiff Quynh Vu Bain, proceeding pro se, respectfully requests a brief extension of time
in which to file her response to Defendants’ Motion to Dismiss. The requested extension of four
days is granted. Plaintiff shall file her response on or before November 16, 2021.

So Ordered.

Date: November 2021

 

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Randolph D. Moss
United States District Judge
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CERTIFICATE OF SERVICE

I certify that on November 12, 2021, I served the foregoing Motion for Extension of Time by
first-class mail, addressed to the following:

Joseph F. Carilli, Esquire

Assistant United States Attorney

Civil Division

Office of the United States Attorney
for the District of Columbia

555 Fourth Street, NW

Washington, DC 20530

In addition, a courtesy copy of the Motion was served by electronic mail to the following
email address:

Joseph.carilli@usdoj.gov

(phy PE
Dated: November 12, 2021 Ob he

Quynh VuBain,

Pro Se Plaintiff

213 Third Street, SE
Washington, DC 20003
quynhbain75(@outlook.com
(202) 569-0942
